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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                   (Greenbelt Division)

In re:                                    :
                                          :
GOLD AND SILVER AUTO SALES, LLC,          :                  Case No. 20-14710
                                          :                  Chapter 11
                  Debtor.                 :
__________________________________________:

                   APPLICATION BY DEBTOR-IN-POSSESSION
                          TO RETAIN LAW FIRM OF
         COHEN BALDINGER & GREENFELD, LLC UNDER GENERAL RETAINER

The application of Gold and Silver Auto Sales, LLC (the “Debtor”), respectfully represents:

          1.   On April 28, 2020, the Debtor filed a Voluntary Petition under Chapter 11 of the

Bankruptcy Code.

          2.   The Debtor has continued in possession of his property, and as

debtor-in-possession, is continuing to manage his affairs.

          3.   The Debtor is a Maryland limited liability company which operates an automobile

dealership in Laurel, Maryland.

          4.   The Debtor, as debtor-in-possession, wishes to employ the law firm of Cohen

Baldinger & Greenfeld, LLC to represent it in these proceedings. More specifically, Debtor

wishes to employ Augustus T. Curtis, a member of said law firm duly admitted to practice in the

District of Maryland and in this Court.

          5.   Your applicant has selected said law firm and member for the reason that the law

firm has had considerable experience in matters of this character, and Debtor believes that

Augustus T. Curtis is well-qualified to represent it as debtor in possession in this proceeding.

          6.   The professional services that Cohen Baldinger & Greenfeld, LLC has agreed to

render include:
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                 (a)      to give debtor legal advice with respect to its powers and duties as debtor

                 in possession in the continued operation of its business and management of its

                 property;

                 (b)      to prepare on behalf of your applicant as debtor in possession necessary

                 applications, answers, orders, reports and other legal papers; and

                 (c)      to perform all other legal services for debtor as debtor in possession which

                 may be necessary herein.

           7.    It is necessary for the debtor as debtor in possession to employ an attorney for

such professional services.

           8.    To the best of debtor's knowledge, said law firm and its members have no

connection with the creditors, or any other party in interest, or their respective attorneys and

accountants, the United States trustee, or any person employed in the office of the United States

trustee.

           9.    Your applicant desires to employ the law firm of CBG under a general retainer

because of the legal services required. CBG has agreed to be compensated based on the firm=s

normal hourly rates, subject to the approval of this Court after notice and the opportunity for

hearing. CBG’s normal rates are currently four hundred twenty-five dollars ($425.00) per hour

for services provided by Augustus T. Curtis. The Debtor has placed a deposit of $10,000 into

escrow with CBG, and CBG will bill against that retainer in connection with its services subject

to approval of a fee application by the Court.

           10.   The firm of Cohen Baldinger & Greenfeld, LLC, and its members, represent no

interest adverse to debtor as debtor in possession or the estate except as specifically disclosed

herein in the matters upon which it is to be engaged for the debtor as debtor in possession, and its
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employment would be in the best interests of the estate.

        WHEREFORE, the premises considered, it is prayed that this Honorable Court enter an

Order allowing the retention of the law firm of Cohen Baldinger & Greenfeld, LLC, under a

general retainer to represent the debtor, and that it may have such other and further relief as is

just.

                                                Respectfully submitted,

                                                COHEN BALDINGER & GREENFELD, LLC


                                                By: /s/ Augustus T. Curtis
                                                        Augustus T. Curtis # 26653
                                                        2600 Tower Oaks Boulevard, Ste. 103
                                                        Rockville, MD 20852
                                                        (301) 881-8300
                                                        Counsel for Debtor-in-Possession
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                               CERTIFICATE OF SERVICES

       I hereby certify that a copy of the foregoing Application, along with a copy of the
proposed Order, was served this 28th day of April, 2020, via United States Mail, postage prepaid,
addressed to the following:

       Office of the United States Trustee
       6305 Ivy Lane, Suite 600
       Greenbelt MD 20770


                                      /s/Augustus T. Curtis
                                     Augustus T. Curtis
